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                   UNITED STATES DISTRICT COURT
                             FOR THE
                  EASTERN DISTRICT OF CALIFORNIA
                       SACRAMENTO DIVISION


UNITED STATES OF AMERICA,                         CASE NO: 2:10CR00362 WBS

            Plaintiff,

-vs-                                                ORDER

SULAIMAN SAFI,

          Defendant.
_________________________________/


            THIS CAUSE having come upon a joint motion by Defendant
Sulaiman Safi and the United States Government, it is hereby


            ORDERED AND ADJUDGED that docket number 43 along
with its attachments are hereby placed under seal. The Clerk of the United
States District Court is so ordered.


            DONE AND ORDERED this 22nd day of March, 2013.


                                       _________________________________________
                                       WILLIAM B. SHUBB
                                       UNITED STATES DISTRICT JUDGE
